        Case 6:21-cv-00144-ADA Document 121 Filed 04/15/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 THERMOLIFE INTERNATIONAL,                          Civil Action No. 6:21-CV-00144-ADA
 LLC,

        Plaintiff,

 v.

 HUMAN POWER OF N COMPANY, d/b/a
 HUMANN, f/k/a NEOGENIS LABS, INC.,

        Defendant.

  ORDER GRANTING HUMAN POWER OF N COMPANY’S OPPOSED RENEWED
        MOTION TO DISSOLVE TEMPORARY RESTRAINING ORDER

       Before the Court is HumanN’s Opposed Renewed Motion To Dissolve Temporary

Restraining Order, filed on April 12, 2022. Dkt. No. 116 (the “Renewed Motion”). On February

17, 2022, this Court issued an Indicative Ruling stating that it would dissolve the TRO, Dkt. No.

88, if the Federal Circuit remanded for that purpose. See Dkt. No. 109. The Federal Circuit then

remanded for that purpose. Dkt. No. 113. Accordingly, the Court agrees with HumanN that the

TRO should be dissolved.

       THEREFORE:

       IT IS ORDERED that the Renewed Motion is GRANTED, and the Temporary

Restraining Order, Dkt. No. 88, is hereby DISSOLVED.

                  April 15th
SIGNED on this _________________________, 2022.




                                           ALAN D. ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
